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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

      IRA KLEIMAN, as the personal representative        CASE NO.: 9:18-cv-80176-BB/BR
      of the Estate of David Kleiman, and W&K Info
      Defense Research, LLC

            Plaintiffs,

      v.

      CRAIG WRIGHT,

            Defendant.

                          JOINT NOTICE OF FILING ADMITTED EXHIBITS
           Plaintiffs Ira Kleiman, as the personal representative of the Estate of David Kleiman, and

  W&K Info Defense Research, LLC, and Defendant Craig Wright (collectively, the “Parties”),

  hereby give notice of filing all exhibits not subject to a motion to file under seal,1 and which were

  admitted during the trial in this action as reflected in the Corrected Admitted Trial Exhibit List in

  re: Kleiman v. Wright (ECF No. [815]). Pursuant to Local Rule 5.3(b)(3)(B), the following

  exhibits are exempt from mandatory electronic filing and service requirements, and will be

  physically filed with the Clerk of the Court: P434, P511, P512, and D173.



  Dated: December 16, 2021                          Respectfully submitted,

                                                    By: /s/ Andrew S. Brenner
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  1
    Both parties have filed motions seeking leave to file select exhibits under seal. See (ECF Nos.
  [823] and [824]). Those exhibits are not included in this joint filing and will be filed today by each
  respective party.
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 16, 2021, a true and correct copy of the foregoing
  was filed with CM/ECF, which caused a copy to be served on all counsel of record.


                                                    /s/ Andrew S. Brenner
                                                    Andrew S. Brenner




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